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  7   MICROCOM TECHNOLOGIES, INC.

  8
                         UNITED STATES DISTRICT COURT
  9
                       CENTRAL DISTRICT OF CALIFORNIA
 10
 11
      NOMADIX, INC.,                )        CASE NO. 2:19-cv-10202-DDP-E
 12                                 )
               Plaintiff,           )        [Hon. Dean D. Pregerson]
 13                                 )
           vs.                      )
 14                                 )        STIPULATION TO EXTEND TIME
      SIA MIKROTĪKLS; MICROCOM      )        FOR MICROCOM
 15   TECHNOLOGIES, INC.; CREATIVE )         TECHNOLOGIES, INC. TO
      WIRELESS, INC.; and GLOBAL IT )        RESPOND TO COMPLAINT
 16   COMMUNICATIONS, INC.,         )
                                    )        Complaint Served: 1/22/2020
 17            Defendants.          )        Current Response Date: 6/12/2020
                                    )        New Response Date: 7/10/2020
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                                                                                           1                                     STIPULATION
                                                                                           2         WHEREAS, on January 22, 2020, Plaintiff Nomadix, Inc. (“Nomadix”) served
                                                                                           3   the complaint on Defendant Microcom Technologies, Inc.’s (“Microcom”) agent for
                                                                                           4   service of process;
                                                                                           5         WHEREAS, on or about February 12, 2020, Nomadix and Microcom
                                                                                           6   submitted a stipulation and proposed order pursuant to Local Rule 8-3 extending
                                                                                           7   Microcom’s deadline to respond to the Complaint to March 13, 2020 (Dkt. No. 11);
                                                                                           8         WHEREAS, on March 11, 2020, the parties submitted a stipulation and
                                                                                           9   proposed order to a 30-day extension to respond to the complaint, which the Court
                                                             Facsimile: (310) 394-4477




                                                                                          10   granted on March 12, 2020 (Dkt. Nos. 19 and 20, respectively);
                                                                                          11         WHEREAS, on April 13, 2020, as the parties continued to engage in settlement
CISLO & THOMAS LLP

                                          Los Angeles, California 90025




                                                                                          12   discussions, the parties submitted a stipulation and proposed order for a similar 30-
                                            12100 Wilshire Boulevard
            Attorneys at Law




                                                                                          13   day extension for Microcom to respond to the complaint, which the Court granted on
                                                   SUITE 1700




                                                                                          14   April 14, 2020 (Dkt. Nos. 23 and 24, respectively);
                                                                                          15         WHEREAS, on May 12, 2020, as the parties continued to engage in settlement
                        Telephone: (310) 451-0647




                                                                                          16   discussions, the parties submitted a stipulation and proposed order for an additional
                                                                                          17   30-day extension for Microcom to respond to complaint, which the Court granted on
                                                                                          18   May 13, 2020 (Dkt. Nos. 28 and 29, respectively);
                                                                                          19         WHEREAS, counsel for the parties have made progress, and continue to
                                                                                          20   engage in good faith discussions about resolution as to Microcom, including drafting
                                                                                          21   documents in that regard, and remain hopeful that a resolution may soon be reached;
                                                                                          22         WHEREAS, in connection with counsels’ discussions, counsel for both parties
                                                                                          23   believe that additional time, without escalation of the litigation, will support the
                                                                                          24   parties’ ongoing discussions; and,
                                                                                          25         WHEREAS, because at least one of the other named defendants has yet to be
                                                                                          26   served, and is in the process of being served via the Hague Service Convention – this
                                                                                          27   extension of time will not cause any delay in the overall case.
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                                                                                           1         NOW THEREFORE, Defendant Microcom Technologies, Inc. and Plaintiff
                                                                                           2   Nomadix, Inc., by and through their respective counsel of record, hereby stipulate
                                                                                           3   and agree that Microcom Technologies, Inc. shall have up to, and including, July 10,
                                                                                           4   2020 to file a response to the complaint in this action.
                                                                                           5
                                                                                           6   IT IS SO STIPULATED.
                                                                                           7
                                                                                           8    CISLO & THOMAS LLP                            KNOBBE MARTENS OLSON AND
                                                                                                                                              BEAR LLP
                                                                                           9
                                                             Facsimile: (310) 394-4477




                                                                                          10    /s/ Mark D. Nielsen       O                   /s/Perry D. Oldham (with permission)O
                                                                                                Mark D. Nielsen                               Douglas G. Muehlhauser
                                                                                          11    Daniel M. Cislo                               Perry D. Oldham
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                                                                                          12
                                            12100 Wilshire Boulevard




                                                                                                Attorneys for Defendant,    Attorney for Plaintiff,
            Attorneys at Law




                                                                                          13    MICROCOM TECHNOLOGIES, INC. NOMADIX, INC.
                                                   SUITE 1700




                                                                                          14
                                                                                                Dated: June 10, 2020                          Dated: June 10, 2020
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                        Telephone: (310) 451-0647




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                                                                                           1                                     CERTIFICATE OF SERVICE
                                                                                           2           I hereby certify that on June 10, 2020, I electronically filed the foregoing document with
                                                                                           3   the clerk of court for the U.S. District Court, Central District of California, using the electronic case
                                                                                               filing system of the court.
                                                                                           4
                                                                                                      I hereby certify that on June 10, 2020, I caused the foregoing document to be served by the
                                                                                           5   Court’s Electronic Filing System:
                                                                                           6
                                                                                                                                     Douglas G Muehlhauser
                                                                                           7                                     doug.muehlhauser@knobbe.com
                                                                                                                                        Perry D. Oldham
                                                                                           8                                       perry.oldham@knobbe.com
                                                                                           9                                   Knobbe Martens Olson and Bear LLP
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                                                                                          11                                           Fax: 949 760 9502
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                                          Los Angeles, California 90025




                                                                                          12
                                            12100 Wilshire Boulevard




                                                                                                       FEDERAL: I declare, under penalty of perjury under the laws of the United States of
            Attorneys at Law




                                                                                          13           America that the foregoing is true and that I am employed in the office of a member of the
                                                   SUITE 1700




                                                                                                       Bar of this Court at whose direction the service was made.
                                                                                          14
                                                                                                       Executed on June 10, 2020, at Westlake Village, California.
                                                                                          15
                        Telephone: (310) 451-0647




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                                                                                                                                                       /s/ Laura Banuelos
                                                                                          17                                                           Laura Banuelos
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